                Case 16-03297-5-SWH                                       FORM 1Entered 07/25/19 14:11:36
                                                       Doc 60 Filed 07/25/19                                                           Page   1 of 3
                                                                                                                                         Page No: 1
                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                       ASSET CASES

Case No.:                     16-03297                                                              Trustee Name:                      James B. Angell
Case Name:                    WILSON, TERRENCE JAMES AND WILSON, MARY FORD                          Date Filed (f) or Converted (c):   06/23/2016 (f)
For the Period Ending:        06/30/2019                                                            §341(a) Meeting Date:               07/27/2016
                                                                                                    Claims Bar Date:                    01/18/2019
                          1                           2                  3                4               5                 6             7                 8
                   Asset Description               Petition/       Estimated Net      Property       Sales/Fund        Asset Fully      Lien            Exemption
                    (Scheduled and               Unscheduled           Value          Abandoned           s           Administered     Amount            Amount
               Unscheduled (u) Property)            Value        (Value Determined   OA =§ 554(a)     Received            (FA)/
                                                                    by Trustee,       abandon.         by the         Gross Value of
                                                                     Less Liens,                       Estate          Remaining
                                                                    Exemptions,                                          Assets

 Ref. #
1       3105 Lake Pointe Trail 3105                $315,000.00               $0.00       OA                   $0.00               FA   $406,000.00              $0.00
        Lake Pointe Trail Rocky
        Mount, NC - 27804-0000
        Nash County Residence:
        Primary residence
Asset Notes:    Lien holders are Suntrust and Belmont HOA
                Notice of Abandonment filed 9/19/2016 DE 42
2       1608 Shamrock Lane Rocky                   $100,000.00               $0.00       OA                   $0.00               FA   $100,000.00              $0.00
        Mount, NC - 27804-0000
        Nash Conty County Rental:
        1450 sq ft single family
        home
Asset Notes:    Property is co-owned with son. Lien holder is BB&T.
                Notice of Abandonment filed 9/19/2016 DE 42
3       3052 Woods Walk Way                        $175,000.00               $0.00       OA                   $0.00               FA   $164,500.00              $0.00
        Rocky Mount, NC -
        27804-0000 Nash County
        Rental: 1950 square foot
        single family residential
        property
Asset Notes:    Lien holders are BB&T and Belmont HOA
                Notice of Abandonment filed 9/19/2016 DE 42
4       604 Woods Walk Lane                       $189,000.00                $0.00       OA                   $0.00               FA   $181,500.00              $0.00
        Rocky Mount, NC -
        27804-0000 Nash County
        Rental: 2220 sq ft single
        family home
Asset Notes:    Lien holders are BB&T and Belmont HOA
                Notice of Abandonment filed 9/19/2016 DE 42
5       609 Woods Walk Lane                       $175,000.00                $0.00       OA                   $0.00               FA   $164,800.00              $0.00
        Rocky Mount, NC -
        27804-0000 Nash County
        Rental: 1750 sq ft single
        family home
Asset Notes:    Lien holders are BB&T and Belmont HOA
                Notice of Abandonment filed 9/19/2016 DE 42
6       613 Woods Walk Lane                       $192,000.00                $0.00       OA                   $0.00               FA   $149,000.00         $1,800.00
        Rocky Mount, NC -
        27804-0000 Nash County
        Rental: 2210 sq ft single
        family home
Asset Notes:       Lien holders are BB&T and Belmont HOA
                   Notice of Abandonment filed 9/19/2016 DE 42




                                                                                              SUBTOTALS                   $0.00                 $0.00
                Case 16-03297-5-SWH                                      FORM 1Entered 07/25/19 14:11:36
                                                      Doc 60 Filed 07/25/19                                                             Page   2 of 3
                                                                                                                                          Page No: 2
                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                      ASSET CASES

Case No.:                     16-03297                                                               Trustee Name:                      James B. Angell
Case Name:                    WILSON, TERRENCE JAMES AND WILSON, MARY FORD                           Date Filed (f) or Converted (c):   06/23/2016 (f)
For the Period Ending:        06/30/2019                                                             §341(a) Meeting Date:               07/27/2016
                                                                                                     Claims Bar Date:                    01/18/2019
                          1                         2                     3                4               5                 6             7                 8
                   Asset Description             Petition/          Estimated Net      Property       Sales/Fund        Asset Fully      Lien            Exemption
                    (Scheduled and             Unscheduled              Value          Abandoned           s           Administered     Amount            Amount
               Unscheduled (u) Property)          Value           (Value Determined   OA =§ 554(a)     Received            (FA)/
                                                                     by Trustee,       abandon.         by the         Gross Value of
                                                                      Less Liens,                       Estate          Remaining
                                                                     Exemptions,                                          Assets

7      97 Turnberry Rocky                           $6,000.00                 $0.00       OA                   $0.00               FA    $40,000.00                $0.00
       Mount, NC - 27804-0000
       Nash County Other: treed
       home site
Asset Notes:     Lien holders are BB&T and Belmont HOA
                 Notice of Abandonment filed 9/19/2016 DE 42
8      74 Little Aston Rocky                         $5,000.00                $0.00       OA                   $0.00               FA          $0.00        $5,000.00
       Mount, NC - 27804-0000
       Nash County Other: interior
       home site
Asset Notes:   Belmont HOA may have lien on property
               Notice of Abandonment filed 9/19/2016 DE 42
9      Chowan County Property                    $220,000.00                  $0.00       OA                   $0.00               FA   $286,526.43                $0.00
       417A Captains Cove
       Wharf's Landing Edenton,
       NC - 27932-0000 Chowan
       County Residence:
       Secondary Residence -
       Edenton town house -
       Wharf's Landing
Asset Notes:   Lien holders are BB&T and Wharf Landing Owners Association
               Notice of Abandonment filed 9/19/2016 DE 42
10     Make: Mercedes Benz                         $3,275.00             $0.00                                 $0.00               FA          $0.00        $3,275.00
       Model: M500 Year: 2002
       Mileage: 78,000
11     Household: Living room                       $2,500.00                 $0.00                            $0.00               FA          $0.00        $2,500.00
       furniture, bedroom furniture,
       dining room furniture
12     Electronics: 10-year old TVs                     $250.00               $0.00                            $0.00               FA          $0.00             $250.00
       ; one laptop over 5 years old
13     Clothes: personal clothing of                    $500.00               $0.00                            $0.00               FA          $0.00             $500.00
       debtors
14     Jewelry: wedding rings &                         $200.00               $0.00                            $0.00               FA          $0.00             $200.00
       religious medals / chain
15     Cash                                             $250.00           Unknown                              $0.00               FA          $0.00             $250.00
16     Checking Account: Wells                      $2,500.00             Unknown                              $0.00               FA          $0.00        $2,500.00
       Fargo
17     Share Account State                               $25.31           Unknown                              $0.00               FA          $0.00              $25.31
       Employee's Credit Union
18     Checking account Wells                             $1.61           Unknown                              $0.00               FA          $0.00               $1.61
       Fargo checking account with
       son
19     USAA Asset Management                             $35.67           Unknown                              $0.00               FA          $0.00              $35.67
       Account ending 17.4. 1107




                                                                                               SUBTOTALS                   $0.00                 $0.00
                Case 16-03297-5-SWH                                       FORM 1Entered 07/25/19 14:11:36
                                                       Doc 60 Filed 07/25/19                                                               Page   3 of 3
                                                                                                                                             Page No: 3
                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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Case No.:                      16-03297                                                              Trustee Name:                         James B. Angell
Case Name:                     WILSON, TERRENCE JAMES AND WILSON, MARY FORD                          Date Filed (f) or Converted (c):      06/23/2016 (f)
For the Period Ending:         06/30/2019                                                            §341(a) Meeting Date:                 07/27/2016
                                                                                                     Claims Bar Date:                      01/18/2019
                           1                         2                    3                4               5                 6                7                8
                   Asset Description               Petition/        Estimated Net      Property       Sales/Fund        Asset Fully         Lien          Exemption
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               Unscheduled (u) Property)            Value         (Value Determined   OA =§ 554(a)     Received            (FA)/
                                                                     by Trustee,       abandon.         by the         Gross Value of
                                                                      Less Liens,                       Estate          Remaining
                                                                     Exemptions,                                          Assets

20      401(k) Retirement: 401K,                    $60,222.02                $0.00                            $0.00               FA             $0.00      $60,222.02
        managed funds ; AlphaStaff
        Retirement Savings Plan
21      401(k) Retirement: 401K -                   $25,438.72                $0.00                            $0.00               FA             $0.00      $25,438.72
        GENEX; managed fund; in
        bonds only; Fidelity
22      Pension Retirement: TIAA                    $43,586.19                $0.00                            $0.00               FA             $0.00      $43,586.19
        Annuity
23      IRA Fidelity Investments                      $1,045.88               $0.00                            $0.00               FA             $0.00        $1,045.88
24      IRA The Hartford                            $15,533.60                $0.00                            $0.00               FA             $0.00      $15,533.60
25      Rent Security Deposit:                        $3,200.00               $0.00                            $0.00               FA             $0.00        $3,200.00
        Security Deposit Held By
26      Owed Other: Felix M. Batts,                   Unknown             Unknown                              $0.00        Unknown               $0.00            $0.00
        his family, and his
        companies for monies loaned
        over past 8 years
27      Owed Other: Lloyd Slade                       Unknown                 $0.00                            $0.00               FA             $0.00            $0.00
        deferred rent on lease
        purchase of 613 Woods
        Walk Lane rental property
28     Insurance: Term life                               $0.00               $0.00                            $0.00               FA             $0.00            $0.00
       insurance policy - American
       General Life Husband
Asset Notes:     Policy is claimed as exempt
29      Term life policy - AXA                            $0.00               $0.00                            $0.00               FA             $0.00            $0.00
        Equitable Wife


TOTALS (Excluding unknown value)                  $1,535,564.00               $0.00                            $0.00             $0.00   $1,492,326.43       $165,364.00




 Major Activities affecting case closing:
  06/30/2019     THE TRUSTEE CONTINUES TO AWAIT THE OUTCOME OF THE FELIX BATTS BANKRUPTCY, FOR WHICH HE IS A
                 CREDITOR IN, FOR A SUBSTANTIAL AMOUNT OWED TO THE DEBTORS.


 Initial Projected Date Of Final Report (TFR):           12/31/2017                            /s/ JAMES ANGELL
 Current Projected Date Of Final Report (TFR):           12/31/2019                            JAMES ANGELL
